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                         BEFORE THE UNITED STATES
                JUDICIAL PANEL ON MULTIDISTRICT LITIGATION

IN RE: FTX Cryptocurrency Exchange                                MDL Docket 3076
Collapse Litigation


                            SCHEDULE OF ACTIONS

      Case Captions               Court             Civil Action No.           Judge

Plaintiff:                 United States District    2:23-cv-11764     Judge Laurie Michaelson
 • Edwin Garrison          Court for the Eastern
 • Gregg Podalsky          District of Michigan
 • Skyler Lindeen           Southern Division
 • Alexander Chernyavsky
 • Sunil Kavuri
 • Gary Gallant
 • David Nicol

Defendant:
 •   Jaspreet Singh
